Case 2:17-cr-00058-LGW-BWC Document 64 Filed 09/26/18 Page 1 of 7

GOVERNMENT
EXH|B|T

CERTIFICATION

 

I, THOMAS W. SAULS, CLERK OF SUPERIOR COURT OF PIERCE
COUNTY, GEORGIA, DO HEREBY CERTIFY THE FOREGOING TO BE THE
TRUE AND CORRECT COPIES OF THE ORIGINAL DOCUMENTS FILED IN THIS
OFFICE AS SHOWN BY FILING ENTRY FOR THE CASE OF STATE OF
GEORGIA V. KENNETH B. WILLIAMS CASE NUMBER 08-3205-CF

THIS 17“" DAY 0F AUGUST 2013

%m/ W' H>¢»/»/

/CLERI<.~ OF_SUPERIOR COURT"
PlEl§g,E_cOUNTY %/£’ qy€’£€y`d

 

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m THE suPERloR couRT oF P\`Pxi‘g€, couNTY
s'rATE OF GEORG|A
-sfrATE -QF¢GEDRG\A § AccusATloN NUMBER g§-SQQ;'CCF

V.

 

 

§ couNT 1: a m_,£hg§;gr`mg
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__\££DQEM'B. u)i\\: ana §

 

COUNT ONE
On behalf of the people of the State of Georgia, the undersigned, as prosecuting

attorney for the County and State aforesaid. does hereby charge and accuse
kneeth bonuqu

wiihthe offense of MQ€\L&FG(‘)\'\.).F\DC; Mdu"s nuclan `l j ,
Forthe said accused on the qua day ofTU~\‘~l ,20_0_1,
in the County’aforesaid didthen and there unlawfully _[Qgggpa@l"u¢"€,
marl`\ua§'\& in Ll\`(\\o.k\`om op ‘PN:_. [":r?.c><’q`~¢;
Qm¥ré\eé Sqlns\a».¢@ Fl<)r TH+_>_ acid accused

did¢ lm\ggz;\;gg\\€¢ mgggca(‘jjuw, % `marijuao\<h,
P\mz\`c% .

 

 

 

 

in violation cf O.C.G.A. § n g-\ § 31 ) ` , Contrary to the laws of said State, the

good order, peace, and dignity thereof

wARRAN'r NuMaER: C% - 3 '2 515 u_)

 

Case 2:17»cr=00058-LGW-BWC Document 64 Filed 09/26/18 l-'age s oi 7

 

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s'rATE oF chRclA
sTA'rE oF GE`DRG:A § AccusATloN NuMeER Q_§-SQQ-CF
v. § couNT 1: Mgg;a£e\g M¢`AS¢
.LO“\\ 10 § 5

 

------------------------------------------------

The Defendant, on waiving indictment by Grand Jury and formal arraignment being served a
copy of the Accusation and a L.isi of Witnesses and pleads guiity.

This »?~57" dany ~__TMS,/ .20 O‘L.

TCLJ.L¢ W\ _ %»...'A~q/- 714°44

 

 

Atrarney for oefendani 2/\ RchARD E. cuRRlE, oisirlct Atmmey
Wayc:ross Judicial Circuit
v Defendant_ _

 

WITNESSES FOR THE STATEZ

gam§g,_¢,é Eg,gng §. D¢*.

 

Accusatlon filed in office this day of

 

.20

 

CLERK
Superior Court of County

 

Case 2:17-cr-00058-LGW-BWC Document 64 Filed 09/26/18 Page 4 of 7
IN THE sUPERlOR COuRT oF PiERcE couNTY

|N THE STATE OF GEORG|A

f 7 stare oF eEoRcrA * rNolcTMENT-
vs * g 09"‘3305
TRANSCRIPTION OF DEFENDANT'S FLEA OF GU|LTY

The defendantl appearing in Gourt with counsei, being duly sworn, makes the following answers to the Ccurt:

 

i. Are you able w hear and understand my germane and questioner Answer §
2. Are you now under the innuendo of any elcohol, druge, narmtice or other pills or medication? .` Answer o

3. Do you understand that you are charged with the olienee(s) mMa;mMaM-LS_U[BMG» A“Mrm
4. Have theee charges been explained to you end to your eatiefadion? Answ€f A'£$
5. Do you understand upon your plea ol' guilty you could be imprisoned for as many se M yeare? Anewer 45
E.

GUlLTV PLEA - (OPEN ENDED): Do you unmmwd\tr upon your plea of guilty you could be inprieoned for (include. if eppllmb|e,
mandatory minimum aerrtence): _ _ Anewer ! ila

GU|LTY PLEA - (NEGOTIATED): Do you understand that a negotiated plea has been worked out between your adomey and the
Distn‘ct Attomey and that. ifthe Court_ approves this plea. you will be sentenced to the following (include, lfapplicable, mandatory

minimumeentence): E_HLQMe-_,. QDDC._…AC€ in sg||'g“; cg @»AMW-V-C-S

?. l-iae the District Attomey, or your attomey. or any police officer, law offlcer. or anyone eleo, made any promise or threat to you to

 

 

 

 

 

influence you to plead guilty in this case (except any conversations you may have had with your attorney concerning a negotiated

piea]? Answer Db_

i-leve you had time to talk with and have you linked with your attorney about this ceae and the plea you are to enter? Answer

Do you understand that you have the right to plead NOT GU|LT¥ and the right to a trial byjury? Anewer f
10. Do you understand that you would have the right to have the assistance of an attorney at trial? Answer las
11. Do you understand that. at triel. you would be presumed imooent, and the State would be required to prove al electronic of the

crime(s) charged against you beyond a reasonable doubt? An$WGf _VQ_
12. Do you understand that you would have the rlghtto confront witneaee against you al trial. and to have your anomaly cross-examine

those witnessed Answer
13. Do you understand that you would have the right to subpoena witnesses to come to tria|? Anewer
14. Do you understand that you would have the right to teetity, ifyou chose to, and to offer such otl'rer evidence at triai, as you and your

attorney deem appropriate? Anewer xii
15. Do you understand thet, at tria|, you would have the right riot to incriminate yourself, and nobody could force you to teetily against €

yourself and that by pleading NOT GU|LTY, or remaining silent end not entering a piee, you would obtain a trial by jury? Answer 5
16. Do you understand that by entering a plea of guilty. you waive all of the above-described dghte? Anewer
17. Do you understand that, ilyou are not a citizen of the Unded Stetee. this plea of guilty may have an impact on your immigration . .

stetus? Answer %d]_wn
ra. now do you plead re each orrheae charged curi_i'v or NoT culLTY? Answer_")|,{_l_
19. Are you in fact guilty? Anewer _§
20. Haa any one violated any of yourconettlutiona| rights? l " Anewer _m_g_
21. Are you satisfied with the services of your attorney? Answier ¥e S
22. Do you now freeiy, voluntarily end understandingly authorize and instruct your attorney le enter, on your behalf, a plea ot guilty to this 3 E&f

(theee) offense(s)? Answer
23. IF PLEA UNDER F|RST OFFENDER ACT: Have you had explained to you end do you fully understand the plea of guilty underth

Firat Ofiender’s Act? Answer 4
24. Do you understand that upon your plea of guilty inst Ofl'ender that the Court will withhold itejudgmerrt as to guilt and you can be

placed on probation up to a period of {morrthe} (yeare); ordered to pay a fine; make full end complete restitution of all

damagee: pay court mm: end reimburse the county for any attorney teee, ilyour attorney le appointed or lfyou are represented by /

Pubiic Defender? Anewar

l HAVE READ OR HEARD ALL OF THE ABOVE QUESTlOli|S AND l UNDERSTAND THEII. THE ANSWERS SHOWN ARE

THE ONES l GAVE lN OPEN CQURT. THE ANSWERS ARE TR|.IE AND COR ECT. f ,

vaom to and subscribed before me, ` t : ` ` L_tA_lLMMdQ

this gr dayof 534 ,zo_g,¢» 3 _ __ ndant

av. `; _ comm

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lN THE SUPER|OR COURT OF PlERCE COUNTY
lN THE STATE OF GEORGIA

STATE OF GEORG|A * INDICTHENT CCUSAT|

ORDER OF ADJUDICATION
The undersigned presiding Judge hereby certiiies:

ll That the named Defendant was sworn in open court and the questions were asked as set forth in the
foregoing transcript and the answers given thereto by said Defendant are as set forth therein.

li. That the named Defendant, who was represented by an attorney of record, entered a plea of guilty in open
court and. being duly swom, further informed the Court that helshe:

(A) Has bean fully advised of the following rights and has a waiver of those rights, to
wit
(1) the right to trial by jury;
(2) the presumption of innocence:
(3) the right to confront witnesses against oneself;
(4) the right to subpoena witnesses;
(5) the right to testify and to offer other evidence;
(6) the right to assistance of counsel during trial;
(7) the right not to incriminate oneseif: and that by pleading not guilty or remaining
silent and not entering a plea of guilty1 one obtains a jury trial;

(B) Has been informed of the charge(s} pendingl and has acknowledged that tie/she understands the
nature of the charge(s), the maximum penalty on such charges and the mandatory minimum
sentence [if applicable};

(C) Has been informed , and has acknowledgedl that if helshe is not a citizen of the United States. this
plea of guilty may have an impact on hislher immigration status;

(D) Has admitted guilt to the offense(s) charged:

(E) Has entered a guilty plea without undue innuence, promises or threats;

(F) Has entered a guilty plea after having had an opportunity to confer with an attorney about the case
and the plea that was entered;

(G) Has acknowledged that, upon approval of the p|ea, a sentence will be rendered in accordance with
the negotiated sentenoe, if applicabie. or to any sentence authorized by law;

(H) Has acknowledged satisfaction with the legal services rendered;

(l) Has stated that all the above and foregoing questions were answered truthfully.

The Court acknowledges that a factual basis for the plea has been provided and the Court is satisfied that
a factual basis for Defendant’s plea of guilty exists The Court further determines and adjudges that all legal
requirements have been satisfied and met in accordance with approval of this guilty plea. The plea by the above-
named defendant was freely, knowingly, willingly, understandingly and voluntarily made without influence.
compulsion, duress or promise of leniency.

lT lS THEREFORE ORDERED that die plea of guilty be entered on the minutes and that this Transcript of
Defendant's P|ea of Guiity and Order of Adjudicab'on be hied with the indictment

this t/§ day dr ,v] Wr, carr , 200_.3/
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y/l/\~ A‘H)<,

JuDGE, suPER`ioR count
wAchoss JuorciAL cincurr

 

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IN THE SUPERIOR COURT OF PIERCE COUNTY, GEORGIA FINAL DISPOSITION

THE STATE CRIMINAL ACTION NO. 08-3205-CF

OFFENSE(S) C'I`.l} MANUFACTURING MARIJUANA

 

 

VS.
KENNETH BRANDON WILLlAMS
- MAY TERM, 20@
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|:l NEGOT:ATED orr 13 way |:| ouit.rv oN El NoLLn Pnoseoul canon on
Ei Guu.rv on conwrtsn E won may courtr(s) couN'r(s)___
[l NoLo coNTENDERE 0N ij No‘r GutLTv on ij DEAD DOCKEr GRDER 0N

cotn~ms; coun'rts) coun'r(s)
EJ To Lassan wollman |] ouiLTY or mcmann Lj other

oFPENst-;(s) ormsnts) or___

on coUNT(s)

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l:l DEFENDANT WAS ADVISED OF HlS/HER RlGl-l'l` TO HAVE THIS SENTENCE REVIEWED BY THE SUPER.|OR COURT REV]EW PANEL.

E FELONY SENTENCE l:l MlSDEMEANOR SENTENCE
WHEREAS_ the above named defendant has been found guilty of the above~statad offense, WHEREUPON, it is ordered and adjudged by the Court that: the said defendant is
hereby sentenced to confinement for a period ofHL/§_Y]§,§_B§_ in the State Penal System or such other institution as the Commission of the Georgia Department of Cort'ections
may direct, to he computed as provided by law. '

HOWEVER, IT lS FURTHER ORDERED BY THE COURT;

D l) THAT the above sentence may be served on probation

[:l 2} THAT upon service ol` of the above sentencc, the remainder of may be served on probation PROVIDED that the said defendant complies with the

followin eneral and other conditions herein im ed the Court as a ot` this sentenee.

GENERAL COND[TIONS OF PROBATION

The defendant. having been granted the privilege of sewing all or pan of the above-stated sentence on probation, hereby is sentenced to the following general conditions of

probation: _

1) Do not violate the criminal laws of any governmental uniL

\:] 2) Avoid injurious and vicious habits - especially alcoholic intoxication and narcotics and other dangerous drugs unless prescribed lawfully

l:l 3) Avoid persons or plants of disrepumble or hali eharaeter.

m 4) Report to the Probation Officeras directed and permit such Ot’l`tcerto visit him(her) at home or elsewhere

ij st work rationally at suitable unploym=m insofar ss may be minn

l:] 6) Do not change his(her) present place of abode, move outside the jurisdiction of the Court, or leave the state l`or any period of time without prior permission of the
l’rohation Ol`l'lcer.

m 7) Support his (her) legal dependents to the best of his(hcr) ahility.

E] B) Do not buy, consume or possess any alcoholic beverages illegal narcotics, illegal drugs or marijuana and do not go to any place where alcoholic beverages malt
bevemges, illegal narcotics, illegal drugs or marijuana are sold or dispensed

l:l 9) Defendant is directed to attend all alcohol. drug training and counseling and pay for all costs involved as directed by Pmbation Ot=lieer.

g 10) Defendant shall submit to a search of his{her) pcrson, houses, papers andl'or effects as those terms of the fourth amendment oflhe United Sta.tes Con`stirution are
defined by the court1 any time ol' the clay or night, with or without a search warrant whenever requested to do so by probation officer or any law enforcement officer
and shall submit to breath, urine and far blood specimen for analysis of`the possible presence of a prohibited drug or alcohol when instructed by the Frobation Stafl` or
any law enforcement officer and pay for all costs involved as directed by Probation Stafl`.

l:l l l) Not to have in his(her) possession any kind of` firearms or deadly weapon

l:l 12} Agree to waive expedition from any jurisdiction where he(sbe) may be found and not contest any ell`ort by anyjurisdietlon to retum himt'her to the Smte ol`Georgia.

 

l:l 13 Defendant is `ointl and several liable for nn restitution ordered. r _-
| l SPEC[AL CONDI'I'IONS 0F PROBATION

.II*‘ .. . . FHND.

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IN THE SUPERIOR COURT 01= PIERCE COUNTY, GEORGIA

' STATE VS.KENNETH BRANDON WILL[AMS CASE N0.0S-3205-CF PAGE 2
OTHER CONDITlONS OF PROBATION

lt ls further ordered that the defendant pay: COUNT l
COURT COSTS . ..
POPTF Surcharge (IO% of fine+CC up riol $sO) ...
COUNTY JAIL FUND (10% of iine+CC) .............
DUI Victim=s Surcharge (10% of fine+CC up

to $25)....
DUI Spinal Injury Fund (10% of fine & CC)""
COUNTY DRUG PUND (50% of Ene+CC)
LVAPF Surcharge (5% of fine+-CC)..
ONE TIME FEE($$O felony/ $25 misdemeanor)
LAW LIBRARY FEE ............................................
A’[TORNEY FEES..
*RESTITUTION... ....
TRANSPORTATION COST .....................
**DRUG ENFORCEMENT FUND ...............
OTHER ..................................................

COUNT 3

…|…|… …I§
…!|…… …l§
…II…… …|§

……|!…`…l
\|……… …I

TOTAL TO CLERK:

 

 

 

 

 

THIS TO BE PAID I`N MANNER AS DIRECTED BY PROBATION OFFICER THE DEFEN'DANT lS ALSO ORDERED `I`O PAY A PROBATION FEE OF_ PER
MON l` H BEGINN!NG__ T.HlS TO BE PAID IN MAN`NER DIREC'I'ED BY PROBATION DFFICE.R.

*REST[TUT`ION TO BE FA]D TO

IT 15 THE FURTHER ORDER OF THE COURT AND THE DEFENDANT IS HEREBY ADV[SED 'f'IIAT THE COURT MAY AT ANY T[ME R.EVOKE ANY CONDITIONS
OF THIS PROBAT|ON AND."OR DlSCHARGE THE DEFENDANT FROM PROBAT]ON. THE PROBATIONER SI-LALL BE SUBJEC`I` 'I`O ARREST l"OR. VIOLATIONS OF
ANY CONDITION OF FROBAT|ON HEREIN GRANTED. IF SUCH PROBATION IS REVOKED, TH`E COURT MAY ORDER THE EXECUT|ON OF THE SENTENCE
WH[CH IS ORIGINALLY {MPOSED OR ANY PORT]ON THER.EOF fN THE MANNER PROVIDED BY LAW AFTER DEDUCTION THEREFROM THE AMOUNT OF
TIME THE DEFENDANT H.AS SERVED ON PROBATION.

'l'HE DEFENDANT WAS REFRESENTED BY THE HONORABLE ATTORNEY AT LAW COU`N'I'Y, BY APPOINTMENT.

l
so ordered this 251'H my ofJULY, 2003 l /L" ‘ L L¢r*\ -r\/( /'o /g":"\ <

\MfCHAr;L P. BoGGs superior court J{dge, PIERCE county

 

CERT[FICA'I`E OF SERV}CE: TH.IS IS TO CERT|FY AND ACKNOWLEDGE THAT A TRUE AND CORRECT COPY OF THIS SEN'[`ENCE HAS BEEN DELIVERED
IN PERSON 'I`O THE DEFENDANT AND HE/SHE HAS BEEN DULY ENSTRUCTED R.EGARD[NG THE CO`NDITIONS AS SET FORTH.

This Day of _ 200

PROBAT|ON OFFICER DEFENDAN`I`

White - Clerk Copy - Dim'ict Anomey Copy - Probat:ion OEEoe Copy - Defendant

